           Case 1:20-cv-07065-VEC Document 10 Filed 10/16/20 Page 1 of 2
                                                                        USDC SDNY
                                                                        DOCUMENT
                                                                        ELECTRONICALLY FILED
                                                                        DOC #:
UNITED STATES DISTRICT COURT                                            DATE FILED: 10/16/2020
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------ X
 STRIKE 3 HOLDINGS, LLC,                                      :
                                                              :
                                              Plaintiff,      :
                                                              : 20-CV-7065 (VEC)
                            -against-                         :
                                                              :     ORDER
 JOHN DOE,                                                    :
                                                              :
                                              Defendant. :
 ------------------------------------------------------------ X

VALERIE CAPRONI, United States District Judge:

       WHEREAS Plaintiff filed this case against Defendant pseudonymously despite Plaintiff’s

knowledge of Defendant’s identity;

       WHEREAS on August 31, 2020, Plaintiff filed a redacted version of the Complaint (Dkt.

1);

       WHEREAS on September 8, 2020, the Court ordered that, no later than 15 days from the

date of service, Defendant must show cause why Plaintiff’s Complaint should not be unredacted

and filed on the public docket (Dkt. 8);

       WHEREAS Plaintiff filed a redacted Affidavit of Service evidencing that on September

15, 2020, Plaintiff served on Defendant by mail the Complaint, summons, and a copy of the

Court’s September 8, 2020 order (Dkt. 9);

       WHEREAS Defendant’s time to respond to the Complaint expired on October 9, 2020;

and

       WHEREAS Defendant has not shown cause why Plaintiff’s Complaint should not be

filed in unredacted form on the public docket, has not responded to the Complaint, and has

otherwise failed to appear in this case;
         Case 1:20-cv-07065-VEC Document 10 Filed 10/16/20 Page 2 of 2




       IT IS HEREBY ORDERED not later than October 20, 2020, Plaintiff must file an

unredacted version of its Complaint on the public docket.

       IT IS FURTHER ORDERED that Plaintiff must apply for a default judgment against

Defendant, consistent with the procedures described in Attachment A to the undersigned’s

Individual Practices in Civil Cases by not later than October 30, 2020, or the case will be

dismissed for failure to prosecute.



SO ORDERED.
                                                     _________________________________
Date: October 16, 2020                                     VALERIE CAPRONI
      New York, NY                                       United States District Judge




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